               Case 6:23-bk-14710-RB                     Doc 1 Filed 10/11/23 Entered 10/11/23 16:09:00                                    Desc
                                                         Main Document    Page 1 of 58

Fill in this information to identify your case:


United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Frontline Machining, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14040 Meridian Parkway
                                  Riverside, CA 92518
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Riverside                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Frontline Machining, LLC                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Frontline Machining, LLC                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Frontline Machining, LLC                                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        October 12, 2023
                                                  MM / DD / YYYY


                             X /s/       Charles Jones                                                     Charles Jones
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Managing Member




18. Signature of attorney    X /s/ Andrew Bisom                                                            Date    October 12, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Andrew Bisom 137071
                                 Printed name

                                 Law Office of Andrew S. Bisom
                                 Firm name

                                 300 Spectrum Center Drive, Ste. 1575
                                 Irvine, CA 92618
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (714) 643-8900               Email address      abisom@bisomlaw.com

                                 137071 CA
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
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 Fill in this information to identify the case:

 Debtor name         Frontline Machining, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           October 12, 2023                       X /s/ Charles Jones
                                                                       Signature of individual signing on behalf of debtor

                                                                        Charles Jones
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Frontline Machining, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                          Check if this is an
                                                CALIFORNIA, SANTA ANA
                                                DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Carl Zeiss Vision                                                                                                  $144,168.00                        $0.00            $144,168.00
 1040 S. Vintage Ave.
 91761
 Cavden Properties,                                             Building Lease                                                                                          $149,534.00
 LLC
 74075 El Paseo, Ste.
 A4
 Palm Desert, CA
 92260
 DGI                                                            Trade debt                                                                                                $43,395.00
 12722 Alondra Blvd.
 Cerritos, CA 90703
 Employee                                                                                                                                                                 $87,751.00
 Devopment
 Department
 Bankruptcy Group
 MIC 92E
 P. O. Box 826880
 Sacramento, CA
 94280-0001
 Global Finance                                                                                                     $138,062.00                        $0.00            $138,062.00
 2424 SE Bristol St.,
 Ste 280
 Newport Beach, CA
 92660
 Global Finance                                                                                                     $129,537.00                        $0.00            $129,537.00
 2424 SE Bristol St.,
 Ste. 280
 Newport Beach, CA
 92660
 Global Finance                                                                                                      $47,224.00                        $0.00              $47,224.00
 2424 SE Bristol St.,
 Ste 280
 Newport Beach, CA
 92660




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Frontline Machining, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Internal Revenue                                               941 Taxes                                                                                                 $47,192.00
 Service
 P.O. Box 7346
 Philadelphia, PA
 19101-7346
 Kaiser Permanente                                              Medical Insurance                                                                                         $66,454.00
 P.O. Box 741562                                                Premiums
 Los Angeles, CA
 90074
 Progressive Alloy                                                                                                                                                        $80,000.00
 Steels Unlimited
 2217 E. Bobo
 Newsom Hwy.
 Hartsville, SC 29550
 Riverside Public                                               Utility                                                                                                   $61,087.00
 Utilities
 3901 Orange St.
 Riverside, CA 92501
 S&D Industrial Tool                                            Trade debt                                                                                                $54,758.00
 Supply
 685 S. Manchester
 Ave
 Anaheim, CA 92802
 Small Business                                                 Loan                                                                                                    $546,264.00
 Administration
 Office of General
 Counsel
 312 N. Spring St., 5th
 Floor
 90012
 Southern California                                            Utilties                                                                                                  $47,720.00
 Edison
 P.O. Box 6400
 Rancho Cucamonga,
 CA 91729
 Sumitomo Mitsui                                                                                                    $125,294.00                        $0.00            $125,294.00
 Finance and Leasing
 Co.
 666 Third Ave., 8th
 Floor
 New York, NY 10017
 Tech Financial                                                                                                      $60,000.00                        $0.00              $60,000.00
 840 N. 3rd St., Ste.
 500
 Milwaukee, WI 53203
 True Steel                                                     Trade debt                                                                                              $127,962.00
 c/o Nick Iezza
 Spiwak & Iezza, LLP
 555 Marin St., Ste.
 140
 Thousand Oaks, CA
 91360


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Frontline Machining, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 United Performance                                                                                                                                                       $77,276.00
 Metals
 14941 East Northam
 St.
 90638
 Vox Funding                                                    Loan                                                                                                      $92,160.00
 14 E. 44th St., Ste. 4
 New York, NY 10017
 Wall Street Funding                                            Loan                                                                                                    $184,100.00
 30 Broad St., 14th Fl
 New York, NY 10004




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                             United States Bankruptcy Court
                                                    Central District of California, Santa Ana Division
 In re      Frontline Machining, LLC                                                                                 Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Charles Jones                                                                                                                  Managing Member
 14040 Meridian Parkway
 Riverside, CA 92508


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date       October 12, 2023                                                 Signature /s/ Charles Jones
                                                                                            Charles Jones

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None


I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at                                                        , California.                     /s/ Charles Jones
                                                                                                      Charles Jones
Date:             October 12, 2023                                                                   Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
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 Fill in this information to identify the case:

 Debtor name            Frontline Machining, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           111,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           111,500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           668,808.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           137,943.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,792,312.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,599,063.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Frontline Machining, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of
                                                                                                                                            debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                                  Last 4 digits of account
                                                                                                                 number


           3.1.     U.S. Bank                                                    Checking                        5801                                    $40,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                     $40,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                                 20,000.00   -                                0.00 = ....                            $20,000.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                 page 1
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             Case 6:23-bk-14710-RB                            Doc 1 Filed 10/11/23 Entered 10/11/23 16:09:00                      Desc
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 Debtor         Frontline Machining, LLC                                                      Case number (If known)
                Name


 12.       Total of Part 3.
                                                                                                                                   $20,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last         Net book value of      Valuation method used   Current value of
                                                     physical inventory       debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Office supplies                                                                  $0.00                                        $1,500.00


           Machinery                                                                        $0.00                                         Unknown



 23.       Total of Part 5.
                                                                                                                                     $1,500.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Frontline Machining, LLC                                                      Case number (If known)
                Name

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers, office furniture                                                      $0.00    N/A                               $10,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $10,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2020 Ford Van T150                                                     $0.00                                      $40,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.
                                                                                                                                   $40,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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             Case 6:23-bk-14710-RB                            Doc 1 Filed 10/11/23 Entered 10/11/23 16:09:00          Desc
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 Debtor         Frontline Machining, LLC                                                     Case number (If known)
                Name




 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 4
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              Case 6:23-bk-14710-RB                                Doc 1 Filed 10/11/23 Entered 10/11/23 16:09:00                                                Desc
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 Debtor          Frontline Machining, LLC                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $40,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                    $20,000.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                $1,500.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $10,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $40,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                           $111,500.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $111,500.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 5
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              Case 6:23-bk-14710-RB                           Doc 1 Filed 10/11/23 Entered 10/11/23 16:09:00                                         Desc
                                                              Main Document    Page 21 of 58
 Fill in this information to identify the case:

 Debtor name         Frontline Machining, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Carl Zeiss Vision                             Describe debtor's property that is subject to a lien                  $144,168.00                       $0.00
       Creditor's Name


       1040 S. Vintage Ave.
       91761
       Creditor's mailing address                    Describe the lien
                                                     Equipment Financing
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2022                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   Ford Motor Credit                             Describe debtor's property that is subject to a lien                    $20,000.00                $40,000.00
       Creditor's Name                               2020 Ford Van T150
       National Bankruptcy Service
       Center
       P.O. Box 62180

       Colorado Springs, CO 80962
       Creditor's mailing address                    Describe the lien
                                                     Auto Loan
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent
          Yes. Specify each creditor,



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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 Debtor       Frontline Machining, LLC                                                                 Case number (if known)
              Name

       including this creditor and its relative          Unliquidated
       priority.                                         Disputed




 2.3   Global Finance                                Describe debtor's property that is subject to a lien                       $129,537.00          $0.00
       Creditor's Name


       2424 SE Bristol St., Ste. 280
       Newport Beach, CA 92660
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Global Finance                                Describe debtor's property that is subject to a lien                        $47,224.00          $0.00
       Creditor's Name


       2424 SE Bristol St., Ste 280
       Newport Beach, CA 92660
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.5   Global Finance                                Describe debtor's property that is subject to a lien                       $138,062.00          $0.00
       Creditor's Name


       2424 SE Bristol St., Ste 280
       Newport Beach, CA 92660
       Creditor's mailing address                    Describe the lien
                                                     Non-Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 4
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 Debtor       Frontline Machining, LLC                                                                 Case number (if known)
              Name

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.6   Global Finance                                Describe debtor's property that is subject to a lien                         $4,523.00          $0.00
       Creditor's Name


       2424 SE Bristol St., Ste 280
       Newport Beach, CA 92660
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       Sumitomo Mitsui Finance
 2.7
       and Leasing Co.                               Describe debtor's property that is subject to a lien                       $125,294.00          $0.00
       Creditor's Name


       666 Third Ave., 8th Floor
       New York, NY 10017
       Creditor's mailing address                    Describe the lien
                                                     Equipment Financing
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.8   Tech Financial                                Describe debtor's property that is subject to a lien                        $60,000.00          $0.00
       Creditor's Name


       840 N. 3rd St., Ste. 500
       Milwaukee, WI 53203
       Creditor's mailing address                    Describe the lien
                                                     Non-Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 4
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 Debtor       Frontline Machining, LLC                                                                 Case number (if known)
              Name

       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                $668,808.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
        Raymond Policar, Esq.
        P.O. Box 74093                                                                                          Line   2.6
        Davis, CA 95617

        Yeshaya Gorkin, Esq.
        Ainsworth Gorkin PLLC                                                                                   Line   2.3
        P.O. Box 605
        New York, NY 10038




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
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              Case 6:23-bk-14710-RB                           Doc 1 Filed 10/11/23 Entered 10/11/23 16:09:00                                            Desc
                                                              Main Document    Page 25 of 58
 Fill in this information to identify the case:

 Debtor name         Frontline Machining, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $87,751.00          $87,751.00
           Employee Devopment Department                             Check all that apply.
                                                                        Contingent
           Bankruptcy Group MIC 92E
                                                                        Unliquidated
           P. O. Box 826880
                                                                        Disputed
           Sacramento, CA 94280-0001
           Date or dates debt was incurred                           Basis for the claim:
           2021-2023
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $47,192.00          $47,192.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           P.O. Box 7346
                                                                        Unliquidated
           Philadelphia, PA 19101-7346
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2022                                                      941 Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $3,000.00         $3,000.00
           Riverside Co. Dept. Environmental                         Check all that apply.
                                                                        Contingent
           Health
                                                                        Unliquidated
           P.O. Box 7909
                                                                        Disputed
           Riverside, CA 92513
           Date or dates debt was incurred                           Basis for the claim:
           2023
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 7
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                                                              Main Document    Page 26 of 58
 Debtor       Frontline Machining, LLC                                                                Case number (if known)
              Name

          out and attach the Additional Page of Part 2.
                                                                                                                                                   Amount of claim


 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $30,000.00
          Air Nation
                                                                                Contingent
          7377 Greenbush Ave.                                                   Unliquidated
          North Hollywood, CA 91605                                             Disputed
          Date(s) debt was incurred 5/2023                                   Basis for the claim: Equipment Financing
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,679.00
          Alfred Avila
                                                                                Contingent
          2068 Marlborough Ave.                                                 Unliquidated
          Riverside, CA 92507                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Wages
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,945.00
          All Industrial
                                                                                Contingent
          5482 Commercial Dr.                                                   Unliquidated
          Huntington Beach, CA 92649                                            Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,770.00
          Ason Johnson
                                                                                Contingent
          12386 Lily Ct.                                                        Unliquidated
          Rancho Cucamonga, CA 91739                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $18,023.00
          Brian Goodell
                                                                                Contingent
          24131 Myers Ave. Unit B                                               Unliquidated
          Moreno Valley, CA 92553                                               Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Wages
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $883.00
          Burrtec
                                                                                Contingent
          1850 Agua Mansa Road                                                  Unliquidated
          Riverside, CA 92509                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trash Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,534.00
          Cavden Properties, LLC
                                                                                Contingent
          74075 El Paseo, Ste. A4                                               Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Building Lease
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $43,395.00
          DGI
                                                                                Contingent
          12722 Alondra Blvd.                                                   Unliquidated
          Cerritos, CA 90703                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 0537                               Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 7
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 Debtor       Frontline Machining, LLC                                                                Case number (if known)
              Name

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,742.00
          Dylan Elkins
                                                                                Contingent
          19458 De Marco Road                                                   Unliquidated
          Riverside, CA 92508                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Wages
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,233.00
          Ernest Patton
                                                                                Contingent
          11352 Chantry St.                                                     Unliquidated
          Fontana, CA 92337                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Wages
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,195.00
          Fernando Perez
                                                                                Contingent
          29524 Longship dr.                                                    Unliquidated
          Menifee, CA 92585                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Wages
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $22,053.00
          Fry Steel
                                                                                Contingent
          13325 Molette St.                                                     Unliquidated
          90570                                                                 Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,584.00
          Hadco Metal Trading Co.
                                                                                Contingent
          14088 Borate St.                                                      Unliquidated
          Santa Fe Springs, CA 90670                                            Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim:
          Last 4 digits of account number 6585                               Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,471.00
          Ideal Thread And Gage
                                                                                Contingent
          1400 Cota Ave.                                                        Unliquidated
          Long Beach, CA 90813                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,095.00
          Johnathon Velasquez
                                                                                Contingent
          1027 N. Euclid ave., Apt. 4                                           Unliquidated
          Ontario, CA 91762                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Wages
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $66,454.00
          Kaiser Permanente
                                                                                Contingent
          P.O. Box 741562                                                       Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Medical Insurance Premiums
          Last 4 digits of account number 7910                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 7
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              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,931.00
          Kapitus
                                                                                Contingent
          120 W. 45th St.                                                       Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim:
          Last 4 digits of account number 1241                               Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,099.00
          Kerley Corp
                                                                                Contingent
          3508 Ocean View Blvd.                                                 Unliquidated
          Glendale, CA 91208                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $801.00
          Langsberg
                                                                                Contingent
          13397 Marley Ave.                                                     Unliquidated
          Fontana, CA 92337                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,000.00
          McMaster Carr
                                                                                Contingent
          9630 Norwalk Blvd                                                     Unliquidated
          Santa Fe Springs, CA 90670                                            Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,368.00
          Murad Sayah
                                                                                Contingent
          13027 Balboa Ln.                                                      Unliquidated
          Moreno Valley, CA 92553                                               Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Wages
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,877.00
          Online Carbide                                                        Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $80,000.00
          Progressive Alloy Steels Unlimited
                                                                                Contingent
          2217 E. Bobo Newsom Hwy.                                              Unliquidated
          Hartsville, SC 29550                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,155.00
          Quality Precision Cleaning
                                                                                Contingent
          5795 Martin Road                                                      Unliquidated
          Irwindale, CA 91706                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 7
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              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,965.00
          R.S. Hughes
                                                                                Contingent
          14000 Meridian Pkwy, Ste. 7                                           Unliquidated
          Riverside, CA 92518                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4386                               Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $61,087.00
          Riverside Public Utilities
                                                                                Contingent
          3901 Orange St.                                                       Unliquidated
          Riverside, CA 92501                                                   Disputed
          Date(s) debt was incurred 2021 - 2022                              Basis for the claim: Utility
          Last 4 digits of account number 2002                               Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $54,758.00
          S&D Industrial Tool Supply
                                                                                Contingent
          685 S. Manchester Ave                                                 Unliquidated
          Anaheim, CA 92802                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 3144                               Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,645.00
          Salco
                                                                                Contingent
          6248 Surfpoint Circle                                                 Unliquidated
          Huntington Beach, CA 92648                                            Disputed
          Date(s) debt was incurred 2022 - 2023                              Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $546,264.00
          Small Business Administration
          Office of General Counsel
                                                                                Contingent
          312 N. Spring St., 5th Floor                                          Unliquidated
          90012                                                                 Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Loan
          Last 4 digits of account number 7402                               Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $47,720.00
          Southern California Edison
                                                                                Contingent
          P.O. Box 6400                                                         Unliquidated
          Rancho Cucamonga, CA 91729                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Utilties
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,818.00
          Stellar Industrial Supply
                                                                                Contingent
          2022 W. 11th St.                                                      Unliquidated
          Upland, CA 91786                                                      Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,086.00
          Sulli Tool & Supply
                                                                                Contingent
          3425 E. La Palma Ave.                                                 Unliquidated
          Anaheim, CA 92806                                                     Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 7
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              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,787.00
           Total Quality Systems
                                                                                Contingent
           1783 W. University Dr. #135                                          Unliquidated
           85281                                                                Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $127,962.00
           True Steel
           c/o Nick Iezza
           Spiwak & Iezza, LLP
                                                                                Contingent
           555 Marin St., Ste. 140                                              Unliquidated
           Thousand Oaks, CA 91360                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $17,466.00
           TTC North America
                                                                                Contingent
           2201 E. 46th St.                                                     Unliquidated
           Indianapolis, IN 46205                                               Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $931.00
           ULine
                                                                                Contingent
           2950 Jurupa St.                                                      Unliquidated
           91761                                                                Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $77,276.00
           United Performance Metals
                                                                                Contingent
           14941 East Northam St.                                               Unliquidated
           90638                                                                Disputed
           Date(s) debt was incurred 2021 - 2022                             Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $92,160.00
           Vox Funding
                                                                                Contingent
           14 E. 44th St., Ste. 4                                               Unliquidated
           New York, NY 10017                                                   Disputed
           Date(s) debt was incurred                                         Basis for the claim: Loan
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $184,100.00
           Wall Street Funding
                                                                                Contingent
           30 Broad St., 14th Fl                                                Unliquidated
           New York, NY 10004                                                   Disputed
           Date(s) debt was incurred                                         Basis for the claim: Loan
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 7
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               Name

            Name and mailing address                                                             On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1        Bridget Esquibias, Esq.
            Parker Stanbury, LLP                                                                 Line     3.11
            444 South Flower St., Nineteenth Floor
                                                                                                        Not listed. Explain
            Los Angeles, CA 90071

 4.2        M.C. Earle, Esq.
            474 W. Orange Show Road                                                              Line     3.7
            San Bernardino, CA 92408
                                                                                                        Not listed. Explain

 4.3        Martin Goldman, Esq.
            16830 Ventura Blvd, Ste. 620                                                         Line     3.12
            Encino, CA 91436
                                                                                                        Not listed. Explain

 4.4        Todd Chvat, Esq.
            Finlay & Zak, LLP                                                                    Line     3.27
            665 MacArthur Court, Ste. 200
                                                                                                        Not listed. Explain
            Santa Ana, CA 92701

 4.5        Yonatan Klestzick, Esq.
            Lieberman and Klestzick, LLP                                                         Line     3.38
            P.O. Box 356
                                                                                                        Not listed. Explain
            Cedarhurst, NY 11516


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    137,943.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  1,792,312.00

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                    1,930,255.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Frontline Machining, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Building Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 2 1/2 years
                                                                                    Cavden Properties, LLC
             List the contract number of any                                        74075 El Paseo, Ste. A4
                   government contract                                              Palm Desert, CA 92260




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Frontline Machining, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.2     Charles Jones                     14040 Meridian Parkway                           Small Business                      D
                                               Riverside, CA 92518                              Administration                      E/F       3.29
                                                                                                                                    G



     2.3     Charles Jones                     14040 Meridian Parkway                           Vox Funding                         D
                                               Riverside, CA 92518                                                                  E/F       3.38
                                                                                                                                    G



     2.4     Charles Jones                     14040 Meridian Parkway                           Global Finance                      D   2.4
                                               Riverside, CA 92518                                                                  E/F
                                                                                                                                    G



     2.5     Charles Jones                     14040 Meridian Parkway                           Global Finance                      D   2.6
                                               Riverside, CA 92518                                                                  E/F
                                                                                                                                    G



     2.6     Charles Jones                     14040 Meridian Parkway                           True Steel                          D
                                               Riverside, CA 92518                                                                  E/F       3.34
                                                                                                                                    G



     2.7     Charles Jones                     14040 Meridian Parkway                           Wall Street Funding                 D
                                               Riverside, CA 92518                                                                  E/F       3.39
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.8     Charles Jones                     14040 Meridian Parkway                        Sumitomo Mitsui            D   2.7
                                               Riverside, CA 92518                           Finance and Leasing        E/F
                                                                                             Co.                        G




Official Form 206H                                                       Schedule H: Your Codebtors                              Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Frontline Machining, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Cavden Properties, LLC v                         Unlawful Detainer          Superior Court of CA, County                   Pending
               Frontline Machining, LLC, et al                                             of Riverside                                   On appeal
               UDMV2301730                                                                                                                Concluded

       7.2.    Sumitomo Mitsui Finance &                        Collection                 Superior Court of CA, County                   Pending
               Leasing Co. v. Frontline                                                    of Riverside                                   On appeal
               Machining, LLC                                                                                                             Concluded
               CVRI2301026

       7.3.    Global Merchant Cash Inc. v.                     Collection                 Supreme Court of the State of                  Pending
               Frontline Machining, LLC, et al                                             NY, County of Kings                            On appeal
                                                                                                                                          Concluded

       7.4.    Vox Funding LLC v. Frontline                     Collection                 Supreme Court of the State of                  Pending
               Machining LLC, et al                                                        NY, County of Nassau                           On appeal
                                                                                                                                          Concluded

       7.5.    Fry Steel Company v. Frontline                   Collection                 Superior Court of CA, County                   Pending
               Machining, LLC                                                              of L.A.                                        On appeal
               22STLC08260                                                                                                                Concluded

       7.6.    True Steel and Cutting, Inc. v.                  Collection                 Superior Court of CA, County                   Pending
               Frontline Machining, LLC, et al                                             of Orange                                      On appeal
               30-2021-01223419-CU-BC-CJC                                                                                                 Concluded

       7.7.    S&D Industrial Tool Supply, Inc.                 Collection                 Superior Court of CA, County                   Pending
               v. Frontline Machining LLC                                                  of Orange                                      On appeal
               30-2022-01260476-CU-BC-CJC                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2

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 Debtor        Frontline Machining, LLC                                                                    Case number (if known)




           None

                Recipient's name and address                    Description of the gifts or contributions                  Dates given                   Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss    Value of property
       how the loss occurred                                                                                                                             lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates         Total amount or
                 the transfer?                                                                                                                        value
                 Address
       11.1.     The Bisom Law Group
                 300 Spectrum Center Drive,
                 Suite 400
                 Irvine, CA 92618                                                                                              10/10/2023        $19,838.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers      Total amount or
                                                                                                                        were made                     value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                     Date transfer     Total amount or
                Address                                         payments received or debts paid in exchange                was made                   value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

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 Debtor        Frontline Machining, LLC                                                                 Case number (if known)




           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     7157 Old 215 Frontage Road                                                                                2019 - 2022
                 Moreno Valley, CA 92553

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was              Last balance
               Address                                          account number            instrument                   closed, sold,             before closing or
                                                                                                                       moved, or                          transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents             Does debtor
                                                                     access to it                                                                 still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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 Debtor      Frontline Machining, LLC                                                                   Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents        Does debtor
                                                                     access to it                                                            still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address
                                                                                                          Consent Order                          Pending
       AEOGEN1-052023                                                                                                                            On appeal
                                                                                                                                                 Concluded


                                                                                                          Consent Order                          Pending
       AEOGEN2-052023                                                                                                                            On appeal
                                                                                                                                                 Concluded



23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address
       Premises                                                      Dept. of Enviromental Health,
                                                                     Riverside


24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business


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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Charles Jones



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Charles Jones                                                                                      Managing Member                               100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,

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       loans, credits on loans, stock redemptions, and options exercised?

             No
             Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

             No
             Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

             No
             Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

        WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
        connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
        18 U.S.C. §§ 152, 1341, 1519, and 3571.

        I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
        and correct.

        I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          October 12, 2023

 /s/     Charles Jones                                                   Charles Jones
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                             Central District of California, Santa Ana Division
 In re       Frontline Machining, LLC                                                                                                              Case No.
                                                                                                           Debtor(s)                               Chapter    11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                  $
             Prior to the filing of this statement I have received .......................................................                     $
             Balance Due ...................................................................................................................   $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                 $              19,838.00
             The undersigned shall bill against the retainer at an hourly rate of ...............................                              $                   550.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
               agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
               liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.




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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     October 12, 2023                                                           /s/ Andrew Bisom
     Date                                                                       Andrew Bisom 137071
                                                                                Signature of Attorney
                                                                                Law Office of Andrew S. Bisom
                                                                                300 Spectrum Center Drive, Ste. 1575
                                                                                Irvine, CA 92618
                                                                                (714) 643-8900 Fax:
                                                                                abisom@bisomlaw.com
                                                                                Name of law firm




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Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
Andrew Bisom 137071
300 Spectrum Center Drive, Ste. 1575
Irvine, CA 92618
(714) 643-8900
California State Bar Number: 137071 CA
abisom@bisomlaw.com




     Debtor(s) appearing without an attorney
     Attorney for Debtor

                                          UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

In re:
                                                                                  CASE NO.:
            Frontline Machining, LLC
                                                                                  CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                    [LBR 1007-1(a)]

                                                               Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 7 sheet(s) is complete, correct, and consistent
with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date:    October 12, 2023                                                                 /s/ Charles Jones
                                                                                          Signature of Debtor 1

Date:
                                                                                          Signature of Debtor 2 (joint debtor) ) (if applicable)

Date:    October 12, 2023                                                                 /s/ Andrew Bisom
                                                                                          Signature of Attorney for Debtor (if applicable)




                   This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
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                          Air Nation
                          7377 Greenbush Ave.
                          North Hollywood, CA 91605


                          Alfred Avila
                          2068 Marlborough Ave.
                          Riverside, CA 92507


                          All Industrial
                          5482 Commercial Dr.
                          Huntington Beach, CA 92649


                          Ason Johnson
                          12386 Lily Ct.
                          Rancho Cucamonga, CA 91739


                          Brian Goodell
                          24131 Myers Ave. Unit B
                          Moreno Valley, CA 92553


                          Bridget Esquibias, Esq.
                          Parker Stanbury, LLP
                          444 South Flower St., Nineteenth Floor
                          Los Angeles, CA 90071


                          Burrtec
                          1850 Agua Mansa Road
                          Riverside, CA 92509


                          Carl Zeiss Vision
                          1040 S. Vintage Ave.
                          91761
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                          Cavden Properties, LLC
                          74075 El Paseo, Ste. A4
                          Palm Desert, CA 92260


                          Charles Jones
                          14040 Meridian Parkway
                          Riverside, CA 92518


                          DGI
                          12722 Alondra Blvd.
                          Cerritos, CA 90703


                          Dylan Elkins
                          19458 De Marco Road
                          Riverside, CA 92508


                          Employee Devopment Department
                          Bankruptcy Group MIC 92E
                          P. O. Box 826880
                          Sacramento, CA 94280-0001


                          Ernest Patton
                          11352 Chantry St.
                          Fontana, CA 92337


                          Fernando Perez
                          29524 Longship dr.
                          Menifee, CA 92585


                          Ford Motor Credit
                          National Bankruptcy Service Center
                          P.O. Box 62180
                          Colorado Springs, CO 80962
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                          Fry Steel
                          13325 Molette St.
                          90570


                          Global Finance
                          2424 SE Bristol St., Ste 280
                          Newport Beach, CA 92660


                          Hadco Metal Trading Co.
                          14088 Borate St.
                          Santa Fe Springs, CA 90670


                          Ideal Thread And Gage
                          1400 Cota Ave.
                          Long Beach, CA 90813


                          Internal Revenue Service
                          P.O. Box 7346
                          Philadelphia, PA 19101-7346


                          Johnathon Velasquez
                          1027 N. Euclid ave., Apt. 4
                          Ontario, CA 91762


                          Kaiser Permanente
                          P.O. Box 741562
                          Los Angeles, CA 90074


                          Kapitus
                          120 W. 45th St.
                          New York, NY 10036
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                          Kerley Corp
                          3508 Ocean View Blvd.
                          Glendale, CA 91208


                          Langsberg
                          13397 Marley Ave.
                          Fontana, CA 92337


                          M.C. Earle, Esq.
                          474 W. Orange Show Road
                          San Bernardino, CA 92408


                          Martin Goldman, Esq.
                          16830 Ventura Blvd, Ste. 620
                          Encino, CA 91436


                          McMaster Carr
                          9630 Norwalk Blvd
                          Santa Fe Springs, CA 90670


                          Murad Sayah
                          13027 Balboa Ln.
                          Moreno Valley, CA 92553


                          Online Carbide


                          Progressive Alloy Steels Unlimited
                          2217 E. Bobo Newsom Hwy.
                          Hartsville, SC 29550
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                          Quality Precision Cleaning
                          5795 Martin Road
                          Irwindale, CA 91706


                          R.S. Hughes
                          14000 Meridian Pkwy, Ste. 7
                          Riverside, CA 92518


                          Raymond Policar, Esq.
                          P.O. Box 74093
                          Davis, CA 95617


                          Riverside Co. Dept. Environmental Health
                          P.O. Box 7909
                          Riverside, CA 92513


                          Riverside Public Utilities
                          3901 Orange St.
                          Riverside, CA 92501


                          S&D Industrial Tool Supply
                          685 S. Manchester Ave
                          Anaheim, CA 92802


                          Salco
                          6248 Surfpoint Circle
                          Huntington Beach, CA 92648


                          Small Business Administration
                          Office of General Counsel
                          312 N. Spring St., 5th Floor
                          90012
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                          Southern California Edison
                          P.O. Box 6400
                          Rancho Cucamonga, CA 91729


                          Stellar Industrial Supply
                          2022 W. 11th St.
                          Upland, CA 91786


                          Sulli Tool & Supply
                          3425 E. La Palma Ave.
                          Anaheim, CA 92806


                          Sumitomo Mitsui Finance and Leasing Co.
                          666 Third Ave., 8th Floor
                          New York, NY 10017


                          Tech Financial
                          840 N. 3rd St., Ste. 500
                          Milwaukee, WI 53203


                          Todd Chvat, Esq.
                          Finlay & Zak, LLP
                          665 MacArthur Court, Ste. 200
                          Santa Ana, CA 92701


                          Total Quality Systems
                          1783 W. University Dr. #135
                          85281


                          True Steel
                          c/o Nick Iezza Spiwak & Iezza, LLP
                          555 Marin St., Ste. 140
                          Thousand Oaks, CA 91360
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                          TTC North America
                          2201 E. 46th St.
                          Indianapolis, IN 46205


                          ULine
                          2950 Jurupa St.
                          91761


                          United Performance Metals
                          14941 East Northam St.
                          90638


                          Vox Funding
                          14 E. 44th St., Ste. 4
                          New York, NY 10017


                          Wall Street Funding
                          30 Broad St., 14th Fl
                          New York, NY 10004


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     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         Frontline Machining, LLC                                             ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                                                        and 7007.1, and LBR 1007-4


                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Charles Jones                                                           , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
               I am the president or other officer or an authorized agent of the Debtor corporation
               I am a party to an adversary proceeding
               I am a party to a contested matter
               I am the attorney for the Debtor corporation
2.a.           The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
               class of the corporation’s(s’) equity interests:
               [For additional names, attach an addendum to this form.]
     b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

 October 9, 2023                                                                          By:
Date                                                                                              Signature of Debtor, or attorney for Debtor

                                                                                          Name:         Charles Jones, Managing Member
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




___________________________________________________________________________
                  This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
